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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

EVERARDO ORTIZ,                                   )
                                                  )
               Plaintiff,                         )      Case No. 1:17-cv-05558
                                                  )
       v.                                         )      Judge Jorge L. Alonso
                                                  )      Magistrate Judge Jeffrey T. Gilbert
THOMAS J. DART, CONNIE MENNELLA,                  )
PATRICE LASSA, JAMIE CROTHERS,                    )
TYRISHA CLARY, GINA CHUNG, NGOZI                  )
IRENE CHINEDU, TORRENCE GRESHAM-                  )
TROTTER, and COOK COUNTY, ILLINOIS                )
                                                  )
               Defendants.                        )

             JOINT MOTION TO SUBSTITUTE PARTIES PURSUANT TO
                  FEDERAL RULE OF CIVIL PROCEDURE 25(d)


       Now comes Plaintiff and Defendants and jointly present their Motion to Substitute

Parties as follows:

       1. The parties have reached a global settlement in this case as, well as Ortiz v. Nurse

            Hannah, Case No. 17-cv-4437.

       2. The Defendants, Thomas Dart, Connie Mannella, Patrice Lassa, Jamie Crothers,

            Tyrisha Clary, Gina Chung, Ngozi Irene Chinedu, Torrence Gresham-Trotter, are

            currently, or were at some point, employed by entities controlled by Cook County.

       3. Cook County is the indemnitor for all Defendants in this case.

       4. Pursuant to Federal Rule of Civil Procedure 25(d), the parties seek to substitute

            Cook County as the lone Defendant in this matter for purposes of indemnification

            and settlement.




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      5. Once this order is granted, the parties will sign the appropriate settlement

          documents and enter a stipulation of dismissal.



Date: November 17, 2020                     /s/ Joan E. Ahn
                                            Burke, Warren, MacKay & Serritella
                                            330 North Wabash Avenue, 21st Floor
                                            Attorney for Plaintiff

                                            /s/ Danielle A. Mikhail
                                            Assistant State’s Attorney
                                            Cook County State’s Attorney’s Office
                                            500 Richard J. Daley Center
                                            Chicago, IL 60602
                                            Attorney for Defendant Dart

                                            /s/ Mia Buntic
                                            Assistant State’s Attorney
                                            Cook County State’s Attorney’s Office
                                            50 West Washington, Suite 2760
                                            Chicago, IL 60602
                                            Attorney for Defendants Mennella, Lassa,
                                            Crothers, Clary, Chinedu, Gresham-Trotter,
                                            and Cook County




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                               CERTIFICATE OF SERVICE


       The undersigned certifies that on November 17, 2020, she electronically filed the foregoing

document with the Clerk of the Court for Northern District of Illinois, using the CM/ECF system

of the Court.




                                                    By:     /s/ Mia Buntic

                                                            Mia Buntic




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